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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 19-63173-CIV-ALTMAN/Hunt

   SPECIALIZED BICYCLE COMPONENTS, INC.,

         Plaintiff,
   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

         Defendants.
                                                           /

          SEALED ORDER GRANTING EX PARTE APPLICATION FOR ENTRY
                    OF TEMPORARY RESTRAINING ORDER

         THIS MATTER comes before the Court on the Plaintiff’s Ex Parte Application for Entry

  of Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets

  (“Application”) [ECF No. 6]. The Plaintiff, Specialized Bicycle Components, Inc. (“Plaintiff”)

  moves, ex parte, for entry of a temporary restraining order against the Defendants, Individuals,

  Partnerships, and Unincorporated Associations Identified on Schedule “A” (collectively

  “Defendants”), and an order restraining the financial accounts used by Defendants pursuant to 15

  U.S.C. § 1116, Federal Rule of Civil Procedure 65, and The All Writs Act, 28 U.S.C. § 1651(a).

         The Court has carefully considered the Motion, the record, and the governing law. For the

  reasons stated below, the Plaintiff’s Ex Parte Application for Temporary Restraining Order [ECF

  No. 6] is GRANTED.
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                                     I.      Factual Background1

          Plaintiff is the owner of the following trademarks, which are valid and registered on the

  Principal Register of the United States Patent and Trademark Office (“Specialized Marks”):


                       Registration        Registration
       Trademark                                                        Class / Goods
                        Number                Date

                                                          IC 012; bicycle components and
                                            January 14,   accessories; namely, tires, cables, tubes,
      SPECIALIZED        1,378,009
                                               1986       cable housings, handle bars, stems, frames,
                                                          stayguards.

                                           December 6,    IC 025; Bicyclists' Shoes and Clothings,
                         1,515,498
                                              1988        Namely Shorts, Socks, and Jerseys.


      SPECIALIZED        1,529,532        March 14, 1989 IC 009; Protective helmets for bicyclists


        BODY                                February 6,
                         2,427,076                        IC 028. bicycle gloves.
      GEOMETRY                                 2001


       TARMAC            2,854,592        June 15, 2004 IC 12; Bicycles.


       S-WORKS           2,940,114        April 12, 2005 IC 012; bicycles and bicycle frames.


        ROVAL            2,955,370        May 24, 2005 IC 012. Bicycle parts, namely wheels.

                                                       IC 012; Bicycles, and bicycle parts and
                                                       accessories, namely, bicycle frames,
                                                       bicycle pumps, inner tubes, tires, saddles,
                                          December 12,
                         3,183,096                     handlebar grips, handlebar safety pads,
                                             2006
                                                       handlebars, handlebar tape, brake levers,
                                                       handlebar stems, seat posts, and water
                                                       bottle cages.



  1
   The factual background is taken from the Plaintiff’s Complaint, Ex Parte Application for
  Temporary Restraining Order, and supporting Declarations submitted by the Plaintiff.


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                                                     IC 009; Bicycle helmets; computing
                                       September 11,
                        3,290,139                    devices for bicyclists to measure time,
                                           2007
                                                     distance, and velocity.

                                       September 11, IC 025. Bicyclists' shoes and clothing,
     S-WORKS            3,290,140
                                           2007      namely, shorts and jerseys

                                                        IC 025; Bicyclists’ shoes and clothing,
   SPECIALIZED          3,942,515      April 12, 2011
                                                        namely, shorts, socks and jerseys.

                                                     IC 009; For protective clothing, footwear
                                                     and headgear for wear by bicyclists for
     S-WORKS            3,957,466       May 10, 2011
                                                     protection against accident or injury;
                                                     cycling helmets.

                        3,988,743       July 5, 2011    IC 025. Bicycle gloves

                                                        IC 009; Protective body armor.
                                                        IC 025; Clothing, namely, shirts, t-shirts,
                        3,989,153       July 5, 2011    tops, base layers, jackets, jerseys, shorts,
                                                        padded shorts, pants, sweat pants, tights,
                                                        vests, socks, arm warmers, knee warmers,
                                                        headwear, and footwear.

      VENGE             4,016,727     August 23, 2011 IC 012. Bicycles and bicycle frames.

                                                      IC 025; Clothing, namely, footwear, shirts,
                                                      t-shirts, tops, socks, jackets, base layers,
                                                      shorts, padded shorts, pants, sweat pants,
   SPECIALIZED          4,019,602     August 30, 2011
                                                      tights, vests, arm warmers, knee warmers,
                                                      headwear, gloves, namely, cycling gloves
                                                      and outdoor gloves.
                                        December 4,
                        4,254,076                       IC 012. Bicycles and bicycle frames
                                           2012


  (See Declaration of Andrew Love in Support of Plaintiff’s Application for Temporary Restraining

  Order (“Love Decl.”) ¶ 4; see also United States Trademark Registrations for the Specialized

  Marks at issue attached as Composite Exhibit 1 to the Complaint.) The Specialized Marks are used




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  in connection with the design, marketing, and distribution of high-quality goods in the category

  identified above. (See id.)

          The Defendants, through the various Internet based e-commerce stores and fully

  interactive, commercial Internet websites operating under the seller identities or domain names

  identified on Schedule “A” hereto (the “Seller IDs and Subject Domain Names”), have advertised,

  promoted, offered for sale, or sold goods bearing and/or using what the Plaintiff has determined to

  be counterfeits, infringements, reproductions, or colorable imitations of the Specialized Marks.

  (See Love Decl. ¶¶ 11-14; Declaration of Virgilio Gigante in Support of Plaintiff’s Application for

  Temporary Restraining Order (“Gigante Decl.”) ¶ 2; Declaration of Kathleen Burns in Support of

  Plaintiff’s Application for Temporary Restraining Order (“Burns Decl.”) ¶ 4).

          Although each of the Defendants may not copy and infringe each of the Specialized Marks

  for each category of goods protected, the Plaintiff has submitted sufficient evidence showing each

  of the Defendants has infringed at least one or more of the Specialized Marks. (See Love Decl. ¶¶

  11-14.) The Defendants are not now, nor have they ever been, authorized or licensed to use,

  reproduce, or make counterfeits, reproductions, or colorable imitations of the Specialized Marks.

  (See id. at ¶¶ 11, 14.)

          The Plaintiff’s counsel retained Invisible Inc (“Invisible”), a licensed private investigative

  firm, to investigate the promotion and sale of counterfeit and infringing versions of the Plaintiff’s

  branded products by the Defendants. (See Love Decl. ¶ 12; Burns Decl. ¶ 3; Gigante Decl. ¶ 2.)

  Invisible accessed each of the e-commerce stores and commercial websites operating under the

  Defendants’ Seller IDs and Subject Domain Names, placed an order for the purchase of a product

  from each of the Seller IDs and Subject Domain Names, bearing counterfeits of, at least, one of




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  the Specialized Marks2 at issue in this action, and requested each product to be shipped to

  Invisible’s addresses in the Southern District of Florida. (See Burns Decl. ¶ 4.) Each order was

  processed entirely online, and following submission of the orders, Invisible finalized payment3 for

  the Specialized branded items ordered from the Defendants to the Defendants’ respective payment

  accounts and/or payee4 as identified on Schedule “A” hereto.5 (Id.) At the conclusion of the


  2
    Defendant Numbers 23-28 and 57-62 blurred-out and/or physically altered images of Plaintiff’s
  trademarks on the products being offered for sale via their respective e-commerce stores. (See
  Burns Decl. ¶ 4, n.1.) Invisible sent messages to these Defendants via their respective onsite
  contact forms requesting additional images of the products offered for sale to verify these products
  bear the Plaintiff’s trademarks in their entirety. (See id.) The additional images and links to
  additional images received by Invisible bearing the Plaintiff’s trademarks in their entirety were
  sent to the Plaintiff’s representative for review. (See id.)
  3
   Invisible was instructed not to transmit the funds to finalize the sale for the orders from Defendant
  Numbers 12-28 and 53-62, so as to avoid adding additional money to the Defendants’ coffers. (See
  Gigante Decl. ¶ 2, n.1; Burns Decl. ¶ 4, n.2.)
  4
      Defendant Numbers 1-28 operate via the non-party Internet marketplace platform,
  DHgate.com, which processes its payments via the third-party platform, DHpay.com. (See Gigante
  Decl. ¶ 4; Burns Decl. ¶ 4, n.3.) The DHgate.com and DHpay.com platforms are operated by the
  Dunhuang Group, who utilizes Camel FinTech Inc to process transactions and deal with refunds
  and chargebacks on behalf of DHgate.com to its customers. (See Gigante Decl. ¶ 4.)

       Defendant Numbers 29-50 operate via the non-party e-commerce marketplace platform
  Joom.com, which is operated by SIA Joom. “Joom USA Inc” was identified as the PayPal payee
  for my firm’s orders from Defendant Numbers 29-50. (See Burns Decl. ¶ 4, n.3.) “Joom USA Inc”
  is the named PayPal recipient for individual transactions conducted with Defendants operating via
  Joom.com. (See id.)

       Defendant Numbers 51-65 operate via the non-party Internet marketplace platform,
  AliExpress.com, and have their payments processed on their behalf using Alipay. (See Burns Decl.
  ¶ 4 n.3; Gigante Decl. ¶ 6.) As such, the Defendants’ payment information is not publicly disclosed.
  (See id.) Defendant Number 63-65 also uses money transfer and retention services with PayPal as
  an alternative payment method. (See Burns Decl. ¶ 4, n.3.)

      Defendant Numbers 66-90 use money transfer and retention services with PayPal. (See Burns
  Decl. ¶ 4 n.3; Gigante Decl. ¶ 7.)
  5
   Additional contact email addresses for the Defendants are also identified on Schedule “A” hereto.
  (See Burns Decl. ¶ 4, n.4.)



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  process, the detailed web page captures and images of the Specialized branded items offered for

  sale and ordered via the Defendants’ Seller IDs and Subject Domain Names, together with

  photographs of the some of the items Invisible received, were sent to the Plaintiff’s representative

  for review. (See Love Decl. ¶¶ 13; Burns Decl. ¶ 4; Gigante Decl. ¶ 2.)               The Plaintiff’s

  representative conducted a review and visually inspected the Specialized branded items Invisible

  ordered via the Seller IDs and Subject Domain Names and determined the products were non-

  genuine, unauthorized versions of the Plaintiff’s products. (See Love Decl. ¶¶ 3, 14.)

                                        II.     Legal Standard

         To obtain a temporary restraining order, a party must demonstrate “(1) a substantial

  likelihood of success on the merits; (2) that irreparable injury will be suffered if the relief is not

  granted; (3) that the threatened injury outweighs the harm the relief would inflict on the

  nonmovant; and (4) that the entry of the relief would serve the public interest.” Schiavo ex. rel

  Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005); see also Levi Strauss & Co. v.

  Sunrise Int’l. Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995) (applying the test to a preliminary

  injunction in a Lanham Act case). Additionally, a court may only issue a temporary restraining

  order without notice to the adverse party or its attorney if:

                 (A) specific facts in an affidavit or a verified complaint clearly show that immediate
                 and irreparable injury, loss, or damage will result to the movant before the adverse
                 party can be heard in opposition [and] (B) the movant’s attorney certifies in writing
                 any efforts made to give notice and the reasons why it should not be required.

  Fed. R. Civ. P. 65(b)(1). Ex parte temporary restraining orders “should be restricted to serving

  their underlying purpose of preserving the status quo and preventing irreparable harm just so long

  as is necessary to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Brotherhood of

  Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cty., 415 U.S. 423, 439 (1974).




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                                      III.    Conclusions of Law

         The declarations the Plaintiff submitted in support of its Ex Parte Application for

  Temporary Restraining Order support the following conclusions of law:

         A.      The Plaintiff has a strong probability of proving at trial that (1) consumers are likely

  to be confused by the Defendants’ advertisement, promotion, sale, offer for sale, or distribution of

  goods bearing and/or using counterfeits, reproductions, or colorable imitations of the Specialized

  Marks, and that (2) the products Defendants are selling and promoting for sale are copies of the

  Plaintiff’s products which bear copies of the Specialized Marks.

         B.      Because of the infringement of the Specialized Marks, the Plaintiff is likely to

  suffer immediate and irreparable injury if a temporary restraining order is not granted. The

  following specific facts, as set forth in the Plaintiff’s Complaint, Application for Temporary

  Restraining Order, and accompanying declarations, demonstrate that immediate and irreparable

  loss, damage, and injury will result to the Plaintiff and to consumers before the Defendants can be

  heard in opposition unless the Plaintiff’s request for ex parte relief is granted:

                 1.      The Defendants own or control Internet based e-commerce stores and

  websites which advertise, promote, offer for sale, and sell products bearing counterfeit and

  infringing trademarks in violation of the Plaintiff’s rights;

                 2.      There is good cause to believe that more counterfeit and infringing products

  bearing the Plaintiff’s trademarks will appear in the marketplace; that consumers are likely to be

  misled, confused, and disappointed by the quality of these products; and that the Plaintiff may

  suffer loss of sales for its genuine products and an unnatural erosion of the legitimate marketplace

  in which it operates; and




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                 3.      There is good cause to believe that, if the Plaintiff proceeds on notice to the

  Defendants of this Application for Temporary Restraining Order, the Defendants can easily and

  quickly change the ownership or modify domain registration and e-commerce store account data

  and content, change payment accounts, redirect consumer traffic to other seller identification

  names and domain names, and transfer assets and ownership of Seller IDs and Subject Domain

  Names, thereby thwarting the Plaintiff’s ability to obtain meaningful relief.

         C.      The balance of potential harm to the Defendants in restraining their trade in

  counterfeit and infringing branded goods if a temporary restraining order is issued is far

  outweighed by the potential harm to the Plaintiff, its reputation, and its goodwill as manufacturers

  and distributors of quality products if such relief is not issued.

         D.      The public interest favors issuance of the temporary restraining order to protect the

  Plaintiff’s trademark interests, to encourage respect for the law, to facilitate the invention and

  development of innovative products, and to protect the public from being defrauded by the illegal

  sale of counterfeit goods.

         E.      Under 15 U.S.C. § 1117(a), the Plaintiff may be entitled to recover, as an equitable

  remedy, the illegal profits gained through the Defendants’ distribution and sales of goods bearing

  counterfeits and infringements of the Specialized Marks. See Reebok Int’l, Ltd. v. Marnatech

  Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992) (quoting Fuller Brush Prods. Co. v. Fuller Brush

  Co., 299 F.2d 772, 777 (7th Cir. 1962) (“An accounting of profits under § 1117(a) is not

  synonymous with an award of monetary damages: ‘[a]n accounting for profits . . . is an equitable

  remedy subject to the principles of equity.’”)).

         F.      Requesting equitable relief “invokes the district court’s inherent equitable powers

  to order preliminary relief, including an asset freeze, in order to assure the availability of




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  permanent relief.” Levi Strauss & Co., 51 F.3d at 987 (citing Federal Trade Commission v. United

  States Oil & Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)).

         G.      In light of the inherently deceptive nature of the counterfeiting business, and the

  likelihood that the Defendants have violated federal trademark laws, the Plaintiff has good reason

  to believe the Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of this

  Court unless those assets are restrained,

         Upon review of the Plaintiff’s Complaint, Application for Temporary Restraining Order,

  and supporting evidentiary submissions, the Court hereby

         ORDERS AND ADJUDGES that the Plaintiff’s Ex Parte Application for Temporary

  Restraining Order [ECF No. 6] is GRANTED, under the terms set forth below:

         (1)     Each of the Defendants, its officers, directors, employees, agents, subsidiaries,

  distributors, and all persons in active concert or participation with any of the Defendants having

  notice of this Order are temporarily restrained as follows:

                     a. From manufacturing, importing, advertising, promoting, offering to sell,
                        selling, distributing, or transferring any products bearing the Specialized
                        Marks, or any confusingly similar trademarks, other than those actually
                        manufactured or distributed by the Plaintiff; and

                     b. From secreting, concealing, destroying, selling off, transferring, or
                        otherwise disposing of: (i) any products, not manufactured or distributed by
                        the Plaintiff, bearing and/or using the Specialized Marks, or any confusingly
                        similar trademarks; (ii) any evidence relating to the manufacture,
                        importation, sale, offer for sale, distribution, or transfer of any products
                        bearing and/or using the Specialized Marks, or any confusingly similar
                        trademarks; or (iii) any assets or other financial accounts subject to this
                        Order, including inventory assets, in the actual or constructive possession
                        of, or owned, controlled, or held by, or subject to access by, any of the
                        Defendants, including, but not limited to, any assets held by or on behalf of
                        any of the Defendants.

         (2)     Each of the Defendants, its officers, directors, employees, agents, subsidiaries,

  distributors, and all persons in active concert or participation with any of the Defendants having


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  notice of this Order shall immediately discontinue the use of the Specialized Marks or any

  confusingly similar trademarks, on or in connection with all Internet based e-commerce stores and

  websites owned and operated, or controlled by them, including the Internet based e-commerce

  stores and websites operating under the Seller IDs and Subject Domain Names.

         (3)     Each of the Defendants, its officers, directors, employees, agents, subsidiaries,

  distributors, and all persons in active concert or participation with any of the Defendants having

  notice of this Order shall immediately discontinue the use of the Specialized Marks, or any

  confusingly similar trademarks within domain name extensions, metatags or other markers within

  website source code, from use on any webpage (including as the title of any web page), from any

  advertising links to other websites, from search engines’ databases or cache memory, and any other

  form of use of such terms which is visible to a computer user or serves to direct computer searches

  to Internet based e-commerce stores and websites registered, owned, or operated by each of the

  Defendants, including the Internet based e-commerce stores and websites operating under the

  Seller IDs and Subject Domain Names.

         (4)     Each of the Defendants shall not transfer ownership of the Seller IDs and Subject

  Domain Names during the pendency of this action, or until further Order of the Court.

         (5)     Each of the Defendants shall preserve copies of all computer files relating to the

  use of any of the Seller IDs and Subject Domain Names and shall take all steps necessary to retrieve

  computer files relating to the use of the Seller IDs and Subject Domain Names that may have been

  deleted before the entry of this Order.

         (6)     Upon receipt of notice of this Order, the Defendants and all financial institutions,

  payment processors, banks, escrow services, money transmitters, or marketplace platforms,

  including but not limited to, Alibaba.com Hong Kong Limited, which operates the AliExpress.com




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  platform (“AliExpress”), Zhejiang Ant Small and Micro Financial Services Group Co., Ltd. (“Ant

  Financial Services”), AliPay (China) Internet Technology Co. Ltd. and Alipay.com Co., Ltd.

  (collectively, “Alipay”), Worldpay US, Inc. (“Worldpay”), PayPal, Inc. (“PayPal”), Dunhuang

  Group which operates the DHgate.com and DHPay.com platforms, Camel FinTech Inc, and SIA

  Joom, which operates the Joom.com platform (“Joom”), and their related companies and affiliates

  shall (i) immediately identify all financial accounts and/or sub-accounts associated with the

  Internet based e-commerce stores and Internet websites operating under the Seller IDs and Subject

  Domain Names, and/or the e-mail addresses identified on Schedule “A” hereto, as well as any

  other accounts of the same customer(s); (ii) identify all other accounts which transfer funds into

  the same financial institution account(s) or any of the other financial accounts subject to this Order;

  (iii) restrain the transfer of all funds, as opposed to ongoing account activity, held or received for

  their benefit or to be transferred into their respective financial accounts, and any other financial

  accounts tied thereto; and (iv) immediately divert those restrained funds to a holding account for

  the trust of the Court.

          (7)     Upon receipt of notice of this Order, the Defendants and all financial institutions,

  payment processors, bank, escrow services, money transmitters, or marketplace platforms

  receiving notice of this Order, including but not limited to, AliExpress, Ant Financial Services,

  Alipay, Worldpay, PayPal, Dunhuang Group which operates the DHgate.com and DHPay.com

  platforms, Camel FinTech Inc, Joom, and their related companies and affiliates, shall further,

  within five business days of receiving notice of this Order, provide the Plaintiff’s counsel with all

  data that details (i) an accounting of the total funds restrained and identifies the financial account(s)

  and sub-account(s) which the restrained funds are related to, and (ii) the account transactions

  related to all funds transmitted into the financial account(s) and sub-account(s) which have been




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  restrained. Such restraining of the funds and the disclosure of the related financial institution

  account information shall be made without notice to the account owners or the financial institutions

  until after those accounts are restrained. No funds restrained by this Order shall be transferred or

  surrendered by any financial institution, payment processor, bank, escrow service, money

  transmitter, or marketplace website, including but not limited to, AliExpress, Ant Financial

  Services, Alipay, Worldpay, PayPal, Dunhuang Group which operates the DHgate.com and

  DHPay.com platforms, Camel FinTech Inc, Joom, and their related companies and affiliates for

  any purpose (other than pursuant to a chargeback made pursuant to their security interest in the

  funds) without the express authorization of this Court.

          (8)       Any Defendant or financial institution account holder subject to this Order may

  petition the Court to modify the asset restraint set out in this Order.

          (9)       This Order shall apply to the Seller IDs and Subject Domain Names, associated e-

  commerce stores and websites, and any other seller identification names, e-commerce stores,

  domain names, websites, or financial accounts which are being used by Defendants for the purpose

  of counterfeiting the Specialized Marks at issue in this action and/or unfairly competing with

  Plaintiff.

          (10)      This Order shall remain in effect until the date for the hearing on the Motion for

  Preliminary Injunction set forth below, or until such further dates as set by the Court or stipulated

  by the parties.

          (11)      Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Federal Rule of Civil Procedure 65(c),

  the Plaintiff shall post a bond in the amount of Ten Thousand Dollars and Zero Cents ($10,000.00),

  as payment of damages to which the Defendants may be entitled for a wrongful injunction or

  restraint, during the pendency of this action, or until further Order of the Court. In the Court’s




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  discretion, the bond may be subject to increase should an application be made in the interest of

  justice.

             (12)   A hearing is set before this Court in the United States Courthouse located at 299

  East Broward Boulevard, Fort Lauderdale, Florida 33301, Courtroom 207A, on January 16, 2020,

  at 10:15 A.M., at which time the Defendants and/or any other affected persons may challenge the

  appropriateness of this Order and move to dissolve the same and at which time the Court will hear

  argument on the Plaintiff’s requested preliminary injunction.

             (13)   After the Plaintiff’s counsel has received confirmation from the financial

  institutions regarding the funds restrained as directed herein, the Plaintiff shall serve copies of the

  Complaint, Application for Temporary Restraining Order, and this Order, on each Defendant by

  e-mail via their corresponding e-mail address and/or online contact form or other means of

  electronic contact provided on the Internet based e-commerce stores and websites operating under

  the respective Seller IDs and Subject Domain Names, or by providing a copy of this Order by e-

  mail to the registrar of record for each of the Subject Domain Names or the marketplace platforms

  for each of the Seller IDs so that the registrar, or marketplace platform, in turn, notifies each of the

  Defendants of the Order, or by other means reasonably calculated to give notice which is permitted

  by the Court. In addition, the Plaintiff shall post copies of the Complaint, Application for

  Temporary Restraining Order, and this Order, as well as all other documents filed in this action on

  the website located at http://servingnotice.com/Ip2j6n/index.html6 and shall provide the address to

  the website to the Defendants via e-mail/online contact form, and such notice so given shall be


  6
    In this Circuit, Rule 65 has been interpreted to require that a party have notice of the motion and
  hearing; perfecting service on a defendant is not a prerequisite to the entry of a preliminary
  injunction order. See Corrigan Dispatch Co. v. Casa Guzman, S.A., 569 F.2d 300, 302 (5th Cir.
  1978); Diamond Crystal Brands, Inc. v. Wallace, 531 F. Supp. 2d 1366, 1370-71 (N.D. Ga. 2008)



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  deemed good and sufficient service thereof. The Plaintiff shall continue to provide notice of these

  proceedings and copies of the documents on file in this matter to the Defendants by regularly

  updating the website located at http://servingnotice.com/Ip2j6n/index.html, or by other means

  reasonably calculated to give notice which is permitted by the Court

         (14)    Additionally, for the purpose of providing additional notice of this proceeding, and

  all other pleadings, orders, and documents filed herein, the owners, operators and/or administrators

  of the Internet marketplace platform, and/or financial institutions, payment processors, banks,

  escrow services, and money transmitters, including but not limited to AliExpress.com, Ant

  Financial Services, Alipay, Worldpay, DHgate.com, eBay.com, PayPal, Joom, and their related

  companies and affiliates shall, at the Plaintiff’s request, provide the Plaintiff’s counsel with any e-

  mail address known to be associated with the Defendants’ respective Seller IDs.

         (15)    Any response or opposition to the Plaintiff’s Motion for Preliminary Injunction

  must be filed and served on the Plaintiff’s counsel by January 14, 2020. The Plaintiff shall file

  any Reply Memorandum on or before January 15, 2020. The above dates may be revised upon

  stipulation by all parties and approval of this Court.

         (16)    The Defendants are hereby on notice that failure to appear at the hearing may result

  in the imposition of a preliminary injunction against them pursuant to 15 U.S.C. § 1116(d); Fed.

  R. Civ. P. 65, The All Writs Act, 28 U.S.C. § 1651(a); and this Court’s inherent authority.

         (17)    The Clerk shall file this Order under seal until further order of the Court.




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        DONE AND ORDERED in Fort Lauderdale, Florida this 7th day of January 2020.




                                                ________________________________
                                                ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
        Sealed clerk




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                               SCHEDULE “A”
       DEFENDANTS BY NUMBER, SELLER ID, SUBJECT DOMAIN NAME, STORE
       NUMBER, ASSOCIATED PAYMENT ACCOUNT AND ADDITIONAL E-MAIL

Defendant      Defendant / Seller ID /      Store Number / Payment
                                                                     Additional E-mail Address
 Number        Subject Domain Name                  Account
    1       Cycling_k                    18306253
    2       Comeonboy                    21281105
    3       Emmanue                      20298212
    4       Jerseys_linda                21256948
    5       Guchunhua                    20083936
    6       Kevin_echo04                 21029127
    7       Pro_sports                   21359664
    8       s9dx97glb                    20723262
    9       specializedzippceve0         20083991                    63327568@qq.com
   10       Teahong                      21084295
   11       Wanjia55                     15852262
   12       Barbiestrong                 17925551
   13       Bike98                       20650880                    tina@oem-taiwan.com
   14       carbonbicyclefactory         19775393
   15       Cocobike                     20941910
   16       Cyclingelite                 19862979
   17       Darcie888                    20757892
   18       Ebuycycling                  19674873
   19       Erikokirk                    17926452
   20       Ly111111                     21412713
   21       Opicchen                     20036933
   22       rainharvardroad777           19994573
   23       Bike777                      14240150
   24       Bike92                       20651981
   25       Carbonbike88                 19808276                    blueskywonderful@126.com
   26       Lansno                       20442851                    dora@haleylan.com
   27       Oem_taiwan                   20749864                    tina@oem-taiwan.com
   28       Topeisen                     21371460
   29       Akoe02                       Joom USA Inc
   30       Apologize too late           Joom USA Inc
   31       dfghgddfd                    Joom USA Inc
   32       GPT                          Joom USA Inc
   33       H Outdoor sports equipment   Joom USA Inc
   34       Jooly                        Joom USA Inc



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  35    Kirara                        Joom USA Inc
  36    Maysh                         Joom USA Inc
  37    mcv65h                        Joom USA Inc
  38    Nasha                         Joom USA Inc
  39    Passion Angle                 Joom USA Inc
  40    smart cool                    Joom USA Inc
  41    Sook                          Joom USA Inc
  42    Sport World                   Joom USA Inc
  43    Tarke                         Joom USA Inc
  44    twentytwo0306                 Joom USA Inc
  45    Watti                         Joom USA Inc
  46    WETO                          Joom USA Inc
  47    X-KL                          Joom USA Inc
  48    Yette                         Joom USA Inc
  49    Yoland                        Joom USA Inc
  50    Youmei-1                      Joom USA Inc
  51    Shop4508016 Store             4508016
  52    Shop4993354 Store             4993354
  53    10 years specialty Store      5140048
        Factory direct operation
  54                                  5058356
        Store
  55    Inequable Store               4664021                    tina@oem-taiwan.com
  56    Taiwan Bike Factory Store     2413117                    dora@haleylan.com
  57    cheap carbon factory Store    4431120                    mark@haleylan.com
        High quality carbon factory
  58                                  4403032                    gmf@haleylan.com
        Store
  59    Jenson carbon bike Store      5381335                    grace@oem-taiwan.com
        OBM / ODM Cycling Bike
  60                                  1938991
        Store
                                                                 pawcarbonbike@outlook.co
  61    Pawcarbon bike Store          3042012
                                                                 m
  62    taiwan eisen bike Store       5257218                    taiwaneisenbike@163.com
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  68    alfianadsaputr0               alfadi.saput@gmail.com



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